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 7
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 8
 9                            UNITED STATES DISTRICT COURT
10                         NORTHERN DISTRICT OF CALIFORNIA
11
12                                                       Misc. Case Number: 3:24-mc-80266
13
                                                         DECLARATION OF JOSEPH B.
14 IN RE: SUJ3POENA TO X CORP.,                          SHUMOFSKY IN SUPPORT OF
   Successor in Interest to TWITTER, INC
15                                                       PETITIONER NINA AGDAL'S
   Served in case: Nina jgdal v. Dillon                  MOTION TO COMPEL
16 Danis, D.N.J. 2:23-CV-16873-MCA­                      RESPONDENT X CORP. TO
   MAH
17                                                       COMPLY WITH THIRD-PARTY
                                                         SUBPOENA
18
19                                                       Date: TBD
                                                         Time: TBD
20                                                       Ctrm: TBD
21
22
     JOSEPH B. SHUMOFSKY, being of full age, declares and states:
23
            1.     I am an attorney at law who is licensed to practice in the State of New Jersey. I am
24
25 a Member at Sills Cummins & Gross P.C., attorneys for petitioner NinaAgdal ("Agdal"), and
26 make this declaration in support of Plaintiff's Motion to Compel Third-Party X Corp. ("X") to
27 Comply with Third-Party Subpoena .
28

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             2.      I am fully familiar with the facts and circumstances concerning the matters set forth
  1
 2 below.
 3           3.      On September 6, 2023, Agdal commenced the underlying lawsuit, Nina Agdal v.

 4 Dillon Danis, Case No. 2:23-CV-16873-MCA-MAH, in the U.S. District Court for the District of
 5 New Jersey (the “DNJ Lawsuit”), asserting claims against Dillon Danis (“Danis”).
 6
             4.      A true and accurate copy of Agdal’s Second Amended Complaint filed in the DNJ
 7
      Lawsuit on June 11, 2024 (ECF No. 60) is attached hereto as Exhibit A.
 8
             5.      A true and accurate copy of the Declaration of Q. Bahler of Sourced Intelligence
 9
10 filed in the DNJ Lawsuit on September 6, 2023 (ECF No. 1-4), is attached hereto as Exhibit B.
11           6.      While not specifically alleged in Agdal’s Second Amended Complaint, on
12 September 23, 2023, Danis posted a video of Agdal that she had self-recorded while lying in bed
13
      in lingerie, which had been stored in her Snapchat archive and had never been shared with anyone.
14
             7.      A true and accurate copy of Danis’s Responses to Agdal’s First Set of
15
      Interrogatories, which Danis served upon Agdal in connection with the DNJ Lawsuit on February
16
17 8, 2024, is attached hereto as Exhibit C.
18           8.      Subsequent discovery in the DNJ Lawsuit, including the subpoenas to third parties,

19 proved that Danis’s representation in response to Agdal’s Interrogatory No. 3 was false, as Danis
20 had solicited the assistance of several individuals to help him create distasteful content to post
21
      about Agdal.
22
             9.      The Court ordered Danis to sit for a special deposition focused on his discovery
23
      conduct and preservation efforts and the circumstances surrounding his allegedly damaged phone.
24
25 That deposition recently took place on October 8, 2024.
26           10.     A true and accurate copy of the Court order entered in the DNJ Lawsuit on August
27 27, 2024 (ECF No. 68), is attached hereto as Exhibit D.
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              11.    A true and accurate copy of Danis’s letter to Court in the DNJ Lawsuit dated
  1
 2 August 30, 2024 (ECF No. 69), is attached hereto as Exhibit E.
 3            12.    A true and accurate copy of the Court order entered in the DNJ Lawsuit on

 4 September 3, 2024 (ECF No. 70), is attached hereto as Exhibit F.
 5            13.    A true and accurate copy of the Court order entered in the DNJ Lawsuit on
 6
      September 11, 2024 (ECF No. 73), is attached hereto as Exhibit G.
 7
              14.    A true and accurate copy of the Court order entered in the DNJ Lawsuit on
 8
      September 23, 2024 (ECF No. 81), is attached hereto as Exhibit H.
 9
10            15.    A true and accurate copy of the Court order entered in the DNJ Lawsuit on October

11 1, 2024 (ECF No. 82), is attached hereto as Exhibit 1.
12            16.    A true and accurate copy of the Court order entered in the DNJ Lawsuit on October
13
      2, 2024 (ECF No. 83), is attached hereto as Exhibit J
14
              17.    A true and accurate copy of Danis’s letter to Court in the DNJ Lawsuit dated
15
      October 3, 2024 (ECF No. 84), is attached hereto as Exhibit K.
16
17           18.     On February 23, 2024, Agdal served a subpoena upon X (the “Subpoena”). A true

18 and accurate copy of the Affidavit of Service of the Subpoena on February 23, 2024 is attached
19 hereto as Exhibit L. A true and accurate copy of the Subpoena is attached hereto as Exhibit M.
20           19.     In an abundance of caution, Agdal re-served the Subpoena upon X on July 2, 2024,
21
      based on a suggestion from X’s counsel that X did not deem service of the Subpoena to be
22
      properly effectuated in the first instance, which Agdal disputes. A true and accurate copy of the
23
      Affidavit of Service of the Subpoena on July 2, 2024 is attached hereto as Exhibit N.
24
25           20.     A true and accurate copy of X’s counsel’s email dated July 10, 2024 to Agdal’s

26 counsel is attached hereto as Exhibit O.
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                                                       3
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            21.    A true and accurate copy of the Declaration of Nina Agdal dated September 5,
 1
 2 2023, filed in the DNJ Lawsuit on September 6, 2023 (ECF No. 1-3), is attached hereto as Exhibit
 3 P.
 4          22.    A true and accurate copy of X’s counsel’s email dated September 27,2024 to
 5 Agdal’s counsel is attached hereto as Exhibit Q.
 6
            23.    A true and accurate copy of the court order entered in the DNJ Lawsuit on
 7
     September 7, 2023 (ECF No. 7), is attached hereto as Exhibit R.
 8
 9          I declare under penalty of perjury under the laws of the United States of America that the
10 foregoing is true and correct.
11
12
     Dated: October 23, 2024                              Respectfully submitted,
13
14                                                        SILLS CUMMIS & GROSS P.C.

15                                                    olsseon V ' xoss
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